            Case 1:21-cr-00386-TNM Document 52 Filed 09/14/21 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 1:21-cr-00386-TNM-2
                                              :
PAULINE BAUER                                 :
                                              :
                       Defendant.             :

                      UNITED STATES’ OPPOSITION
        TO DEFENDANT BAUER’S MOTION CHALLENGING JURISDICTION

       The United States of America by and through undersigned counsel, files this response to

the following document filed by defendant Pauline Bauer: Motion to Dismiss Case (ECF No.

51).

       While the Court has not ordered a response, and the government questions the need for

such a response, we nevertheless ask for appropriate relief – a summary denial of the defendant’s

motion. At the outset, the government notes that the defendant’s motion consist largely of

frivolous assertions well-calculated to waste the Court’s time. The pleading consists of loosely

referenced case law, constitutional, and other citations that do not support a legal basis to dismiss

the indictment.   Confronted with similar claims by Sovereign Citizens about the tax system, the

Fifth Circuit observed that “we perceive no need to refute these arguments with somber

reasoning and copious citation of precedent; to do so might suggest that these arguments have

some colorable merit . . .   [Petitioner's argument] is a hodgepodge of unsupported assertions,

irrelevant platitudes, and legalistic gibberish.” Crain v. Commissioner, 737 F.2d 1417, 18 (5th

Cir. 1984). That being said, defendant Bauer’s motion to dismiss seems to boil down to her

claim that she does not recognize the authority of the Court so ipso facto the Court has no

jurisdiction over her. In filing her motion, defendant ignores 18 U.S.C. § 3231 which clearly

vests this Court with jurisdiction over “all offenses against the laws of the United States.”
          Case 1:21-cr-00386-TNM Document 52 Filed 09/14/21 Page 2 of 6




                                  FACTUAL BACKGROUND

       Defendant is charged via indictment with offenses related to crimes that occurred at the

United States Capitol on January 6, 2021.    The charges stem from her presence and conduct

inside the United States Capitol on January 6, 2021.    See Complaint and Statement of Facts,

United States v. Bauer, Case 1:21-cr-00386-TNM Document 2-1.          Among other conduct,

defendant Bauer entered the U.S. Capitol at approximately 2:43 p.m. past uniformed officers

attempting to stop the crowd from entering the building. Id., at 9. At approximately 2:57 p.m.,

one of the body-camera videos recorded another individual saying words to the effect of “This is

where we find Nancy Pelosi . . . .” Defendant Bauer is then recorded saying words to the effect

of “Bring that fucking bitch out here now.   Bring her out. Bring her out here. We’re coming in

if you don’t bring her out.” Id., at 12. At approximately 3:02 p.m., defendant Bauer was

involved in a brief skirmish with law-enforcement. Id. at 11. In another body-worn camera

video, defendant Bauer is recorded stating words to the effect of the following: “Bring them out.

We want them out here…You bring them out or we’re coming in. Bring them out now. They’re

criminals. They need to hang.. Bring her out.. Bring Nancy Pelosi out here now. We want to

hang that fucking bitch. Bring her out. We’re coming in if you don’t bring her out.. What are you

trying to protect a fucking Nazi. Is that what you’re protecting? “   Id., at 13.   All of these

events violated federal law and took place at the United States Capitol, federal property.



                                          ARGUMENT

       As an initial matter, the government requests that the Court reject and deny defendant

Bauer’s “disconnected, rambling, and nonsensical” motion to dismiss. The motion has many of

the hallmark characteristics of “sovereign citizen” pleadings which, although they superficially
            Case 1:21-cr-00386-TNM Document 52 Filed 09/14/21 Page 3 of 6




cite to legal authority, make no coherent claim addressable by the Court. Courts have

repeatedly rejected these baseless “sovereign citizen” theories of jurisdiction. See United States

v. Benabe, 654 F.3d 753, 767 (7th Cir.2011) (“Regardless of an individual's claimed status ... as

a ‘sovereign citizen,’ a ‘secured-party creditor, or a ‘flesh-and-blood human being,’ that person

is not beyond the jurisdiction of the courts. These theories should be rejected summarily,

however they are presented.”), cert. denied, 132 S. Ct. 1051, 181 L. Ed. 2d 772 (2012); United

States v. Schneider, 910 F.2d 1569, 1570 (7th Cir.1990) (the defense that “he is a free, sovereign

citizen and as such not subject to the jurisdiction of the federal courts . . . has no conceivable

validity in American law”); United States v. Jagim, 978 F.2d 1032, 1036 (8th Cir.1992)

(defendant claimed he was outside the jurisdiction of the United States; however, the court found

this argument to be “completely without merit” and “patently frivolous” and rejected it “without

expending any more of this Court's resources on discussion”); United States v. Hilgeford, 7

F.3d 1340, 1342 (7th Cir. 1993) (stating that the argument that an individual is a sovereign

citizen of a state who is not subject to the jurisdiction of the United States and not subject to

federal taxing authority is frivolous); Gaskins v. South Carolina, 2:15-cv-2589-DCN-MGB,

2015 U.S. Dist. LEXIS 144979 (D. S.C., Sep. 15, 2015) (“Even liberally construing the

complaint, it is not possible to discern any cause of action, much less any coherent supporting

facts. Plaintiff's allegations are disconnected, rambling, and nonsensical); Charles v. Parker, No.

18-cv-0696 (DLF), 2019 U.S. Dist. LEXIS 48435 (D. D.C., Mar. 21, 2019) (“Federal courts have

repeatedly held that claims based on the sovereign citizen theory are frivolous”).

          Reading defendant Bauer’s 114 page motion to dismiss1, it is hard to discern any

understandable or coherent claim in the pleading.     Boiled to its “legal essence,” defendant




1
    The motion also violates the District Court Rules concerning page limitations.
         Case 1:21-cr-00386-TNM Document 52 Filed 09/14/21 Page 4 of 6




Bauer seems to argue that the Court has no jurisdiction over her because (1) it has never been her

intent to be a “U.S. Citizen”2 and (2) defendant Bauer never intended to live in the District of

Columbia.3

       In any event, defendant Bauer’s motion to dismiss is meritless. See 18 U.S.C. § 3231.

18 U.S.C. § 3231 provides:

       The district courts of the United States shall have original jurisdiction, exclusive of the
       courts of the States, of all offenses against the laws of the United States.

Defendant Bauer is charged with federal offenses: 18 U.S.C. §§ 1512(c)(2), 2 (Obstruction of an

Official Proceeding); 18 U.S.C. § 1752(a)(l) (Entering and Remaining in a Restricted Building or

Grounds); 18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a Restricted Building or

Grounds); 40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building); and 40 U.S.C.

§ 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building). Accordingly, this

Court plainly has jurisdiction over defendant Bauer.

       Similar type claims have been made by many sovereign citizen tax protesters before and

these claims have been universally scorned by the courts.    When faced with a similar issue

more than thirty years ago, the Tenth Circuit opined as follows:

       [Defendant] blithely ignored 18 U.S.C. § 3231 which explicitly vests federal
       district courts with jurisdiction over “all offenses against the laws of the United
       States.” [Defendant] also conveniently ignored article I, section 8 of the United
       States Constitution which empowers Congress to create, define and punish crimes
       irrespective of where they are committed. See United States v. Worrall, 2 U.S. (2
       Dall.) 384, 393 (1798) (Chase, J.). Article I, section 8 and the sixteenth


2
   “Again, I am not a U.S. Citizen, but I am a State National, as described in USC 8 § 1101 (a)
21 with limited diplomatic immunity as one who created government as per Geneva
Conventions.” Motion to Dismiss, pg. 24. “[I] it has never been my intent to be a ‘U.S. citizen’
as defined in 8 U.S.C. §1401 while it has always been my intent to be a ‘national’ per 8
U.S.C. §110l(a)(21) but not a STATUTORY ‘U.S. citizen’ per 8 U.S.C. § 1401.” Id. at pg. 26.
3
  “[N]or has it ever been my intent to be listed as domiciled in The DISTRICT OF COLUMBIA,
and being treated as a resident of the State of Pennsylvania “temporarily to do business. Nor
treated as a minor, by merely not claiming the minor account even after exceeding the age of
18.” Motion to Dismiss, pg. 24.
            Case 1:21-cr-00386-TNM Document 52 Filed 09/14/21 Page 5 of 6




          amendment also empowers Congress to create and provide for the administration
          of an income tax; the statute under which defendant was charged and convicted,
          26 U.S.C. § 7201, plainly falls within that authority. Efforts to argue that federal
          jurisdiction does not encompass prosecutions for federal tax evasion have been
          rejected as either “silly” or “frivolous” by a myriad of courts throughout the
          nation. In the face of this uniform authority, it defies credulity to argue that the
          district court lacked jurisdiction to adjudicate the government's case against
          defendant . . . For seventy-five years, the Supreme Court has recognized that the
          sixteenth amendment authorizes a direct non-apportioned tax upon United States
          citizens throughout the nation, not just in federal enclaves, see Brushaber v.
          Union Pac. R.R., 240 U.S. 1, 12-19 (1916); efforts to argue otherwise have been
          sanctioned as frivolous . . .


United States v. Collins, 920 F.2d 619, 629 (10th Cir. 1990) (citations omitted); accord United

States v. Mundt, 29 F.3d 233, 237 (6th Cir. Mich. 1994).       The First Circuit rejected this similar

baseless “territorial jurisdiction” claim as raised by defendants convicted of providing material

support for tax protesters/terrorists Edward and Elaine Brown in New Hampshire.          See United

States v. Gerhard, 615 F.3d 7,41 (1st Cir. 2010) (“Congress has chosen to vest jurisdiction and

venue over federal crimes in the federal courts. Congress has given the U.S. district courts

exclusive original jurisdiction over all offenses against the laws of the United States. 18 U.S.C. §

3231. That jurisdiction is not limited to crimes which occur on federally owned property, nor is a

state's permission needed for federal prosecution.”)     Accordingly, defendant’s motion should be

denied.

          WHEREFORE, the government respectfully requests that this Court reject and deny

defendant Bauer’s motion to dismiss.

                                                Respectfully submitted,

                                                CHANNING D. PHILLIPS
                                                Acting United States Attorney
                                                DC Bar No. 415793


                                         By:    /s/ James D. Peterson
                                                AMANDA FRETTO
Case 1:21-cr-00386-TNM Document 52 Filed 09/14/21 Page 6 of 6




                           JAMES D. PETERSON
                           Bar No. VA 35373
                           United States Department of Justice
                           1331 F Street N.W. 6th Floor
                           Washington, D.C. 20530
                           Desk: (202) 353-0796
                           James.d.peterson@usdoj.gov




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